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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

 LASHAWN GARRETT,                                 )
                                                  )
                         PLAINTIFF,               )
                                                  )
                 v.                               ) No. 21-cv-6879
                                                  )
 WALMART, INC.,                                   )
                                                  )
                         DEFENDANT.               )

                                     NOTICE OF REMOVAL

        NOW COMES Defendant, WALMART INC. (hereinafter “Defendant”), by and through

its attorneys, James P. Balog and Kimberly D. Musick, and pursuant to 28 U.S.C. §§ 1332, 1441,

and 1446, removes this action to the United States District Court for the Northern District of

Illinois, and in support thereof, state as follows:

                               PLEADINGS AND BACKGROUND

    1. The movant’s Notice of Removal is based upon subject matter jurisdiction conferred by

        diversity of citizenship, as established in 28 U.S.C. § 1332.

    2. This matter arises out of a slip and fall incident that occurred on October 1, 2020 at the

        Walmart store located in Streamwood, Illinois. Plaintiff filed a Complaint in the Circuit

        Court of Cook County, Law Division, styled, Lashawn Garrett v. Walmart, Inc. bearing

        Case No. 2021 L 009656. (See Exhibit A, Plaintiff’s Complaint at Law).

    3. Defendant first received Plaintiff’s Complaint when it was served with process on October

        22, 2021. (See Exhibit B, Service of Process Transmittal).

    4. In response to the Complaint, Walmart filed its Appearance and Jury Demand on December

        1, 2021. (See Exhibit C, Walmart Appearance and Jury Demand).
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5. Upon information and belief, based on the Customer Incident Report completed by Plaintiff

   following the incident, Plaintiff is a resident of Illinois.

6. On December 3, 2021, Plaintiff’s counsel sent a demand package to defense counsel,

   seeking a settlement demand of $350,000 based on $70,650.40 in incomplete past medical

   expenses, through June 2021 . (See Exhibit D, Plaintiff’s email correspondence dated

   December 3, 2021; See also Exhibit E, Plaintiff’s Itemization of Medical Expenses).

                                 BASIS FOR DIVERSITY

7. Both at the time of the commencement of the State Court action and at the present time,

   Defendant Walmart is a Delaware Corporation and its executive headquarters are located

   in Bentonville, Arkansas. (See Exhibit F, Arkansas Secretary of State Business Information

   Search for Walmart).

8. A corporation has a single principal place of business where its executive headquarters are

   located. Metropolitan Life Ins. Co. v. Estate of Cammon, 929 F.2d 1220, 1223 (7th Cir. 1991).

   Therefore, at all pertinent times, Walmart was a citizen of Arkansas.

9. At all times relevant, Plaintiff was and remains a citizen of Illinois.

10. In addition, Plaintiff is claiming the amount in controversy exceeds $75,000.

11. With the first notice that the claimed amount in controversy exceeded $75,000 and that

   Plaintiff is a citizen of Illinois (thereby fulfilling diversity requirements) occurring on or

   about December 3, 2020, this Notice was filed within thirty (30) days of “receipt by the

   defendant[s], through service or otherwise, of a copy of an amended pleading, motion, order

   or other paper from which it may first be ascertained that the case is one which is or has

   become removable.” 28 U.S.C. § 1446(b)(3).
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   12. As required by 28 U.S.C. § 1446(d), the movant will promptly serve upon Plaintiff’s counsel,

       and file with the Circuit Court of Cook County, a true and correct copy of this Notice.

   13. By removing this action, Defendant does not waive any defenses available to it.

   14. If any question arises as to the propriety of the removal of this action, the movant requests the

       opportunity to present a brief and oral argument in support of its position that this case is

       removable.

   15. This Notice is signed and in compliance with Rule 11 of the Federal Rules of Civil Procedure.

       WHEREFORE, Defendant, WALMART, INC., (“Walmart”), prays that this Honorable

Court retain jurisdiction of the matter pursuant to 28 U.S.C. §§ 1332, 1441, and 1446.


Dated: December 28, 2021
                                               Respectfully submitted,
                                               O’HAGAN MEYER LLC

                                       By:
                                               s/ Kimberly D. Musick        ________
                                               One of the Attorneys for Defendant
                                                Walmart Inc.


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